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                             Exhibit 11
                   Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Sun, Apr 28, 2024 at 8:00 AM
  Subject: BruinALERT: Campus Activity Updates (Sunday, April 28th)
  To:                                  <                                    >

  BruinALERT: Regular campus activities continue uninterrupted by the encampment
  demonstration that remains in Royce Quad. To date, the activity has been mostly peaceful.
  Our approach continues to be guided by several equally important principles: the need to
  support the safety and wellbeing of Bruins, the need to support the free expression rights of
  our community, and the need to minimize disruption to our teaching and learning mission.
  These same long-standing principles have allowed UCLA to uphold a history of peaceful
  protest.

  UCLA is following University of California systemwide policy guidance, which directs us not
  to request law enforcement involvement preemptively, and only if absolutely necessary to
  protect the physical safety of our campus community.

  We’ve taken several steps to help ensure people on campus know about the demonstration
  so they can avoid the area if they wish. This includes having student affairs representatives
  stationed near Royce quad to let Bruins and visitors know about the encampment, redirect
  them if desired and to serve as a resource for their needs.

  We also have safety teams who are wearing Student Affairs Mitigators (SAMs), Public
  Safety Aides (PSAs) and CSC security uniforms throughout the demonstration site. You
  may also hear helicopters dispatched by news media who are covering the demonstration.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




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